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                     1   ALAN R. SMITH, ESQ. #1449
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                     5   Attorney for Debtors
                         ANTHONY THOMAS and WENDI
                     6   THOMAS and AT EMERALD, LLC
                     7
                     8
                     9                                     UNITED STATES BANKRUPTCY COURT
                 10                                                       DISTRICT OF NEVADA
                 11                                                             —ooOoo—
                 12      In Re:                                                       Case No. BK-N-14-50333-BTB
                                                                                      Case No. BK-N-14-50331-BTB
                 13      ANTHONY THOMAS and                                           Chapter 11 Cases
                         WENDI THOMAS,
                 14                                                                   [Jointly Administered]
                 15      AT EMERALD, LLC,                                             EX PARTE MOTION FOR ORDER
                                                                                      SHORTENING TIME FOR NOTICE
                 16                                                                   AND HEARING ON MOTION TO
                                                                                      SELL ASSETS FREE AND CLEAR OF
                 17                                                                   LIENS AND MOTION TO FILE
                                              Debtors.                                PURCHASE AND SALE AGREEMENT
                 18                                                                   UNDER SEAL
                 19                                                                   Hearing Date: OST Pending
                                                                                      Hearing Time: OST Pending
                 20      ______________________________/
                 21                Debtor, AT EMERALD, LLC, a Nevada limited liability company, by and through
                 22      its counsel, Alan R. Smith, Esq., of the Law Offices of Alan R. Smith, hereby moves this
                 23      Court for an order shortening time for notice and hearing on the Debtor’s Motion To Sell
                 24      Assets Free And Clear Of Liens And Motion To File Purchase And Sale Agreement Under
                 25      Seal (the “Motion”) filed on June 23, 2014.
                 26                Pursuant to the Motion the Debtor seeks an order authorizing the sale of Debtor’s
                 27      asset, a 21,000 carat emerald. The Purchase And Sale Agreement requires the Debtor to seek
                 28      approval of the sale on shortened time. Furthermore, although the Debtor believes that the
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                     1   subject emerald is well protected, it is not insured. The U.S. Trustee has brought a motion
                     2   to convert the case for that reason. See Docket No. 27. In light of these facts, the simplicity
                     3   of the motion, and the fact that the sales price is sufficient to pay all creditors of both cases
                     4   in full, Debtor requests the Motion be heard within seven days of its filing date as required
                     5   by the Purchase And Sale Agreement.
                     6             Local Rule 9006 provides that the Court may shorten time in appropriate
                     7   circumstances for good cause. Based upon the foregoing, Debtor believes that good cause
                     8   exists for shortening time for notice and hearing of the Debtor’s Motion. The Debtor’s
                     9   attorney (or his designated employee) has contacted the principal parties affected by the
                 10      subject Motion and their agreement and comments are in the ATTORNEY INFORMATION
                 11      SHEET filed separately.
                 12                WHEREFORE, Debtor respectfully requests that the Court shorten the time for notice
                 13      of hearing on the Motion, and that the hearing on said Motion be set within seven days of the
                 14      filing of the Motion or as soon as possible and as is convenient to the Court’s calendar.
                 15                Dated this 23rd day of June, 2014.
                 16                                                               LAW OFFICES OF ALAN R. SMITH
                 17                                                               By:     /s/ Alan R. Smith
                                                                                    ALAN R. SMITH, ESQ.
                 18                                                                 Attorney for Debtors
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